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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                          *     CRIMINAL NO. 6:12-CR-00224-1


  VERSUS                                            *     JUDGE FOOTE


  DUDLEY STEVENS NELSON                             *     MAGISTRATE JUDGE HILL

                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea

 hearing and allocution of the defendant, Dudley Stevens Nelson on October 28, 2013. Defendant

 was present with his counsel, Lester Gauthier.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned

 that the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his

 guilty plea to Counts One and Two of the Superceding Indictment is fully supported by a written

 factual basis for each of the essential elements of the offense.

        Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Dudley Stevens Nelson, in accordance with the terms

 of the plea agreement filed in the record of these proceedings, and that Dudley Stevens Nelson

 be finally adjudged guilty of the offense charged in Counts One and Two of the Superceding

 Indictment. It is further recommended that the District Court ACCEPT defendant’s agreement

 to forfeit and abandon his interest in any assets seized as a result of the investigation of this
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 matter and described in the consent forfeiture documents.

         Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

 have fourteen (14) days from service of this Report and Recommendation to file specific,

 written objections with the Clerk of Court. A party may respond to another party’s objections

 within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

 objection or response or request for extension of time shall be furnished to the District Judge at

 the time of filing. Timely objections will be considered by the District Judge before she makes a

 final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, October 30, 2013.
